Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.5 Page 1 of 20




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Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.6 Page 2 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.7 Page 3 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.8 Page 4 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.9 Page 5 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.10 Page 6 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.11 Page 7 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.12 Page 8 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.13 Page 9 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.14 Page 10 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.15 Page 11 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.16 Page 12 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.17 Page 13 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.18 Page 14 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.19 Page 15 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.20 Page 16 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.21 Page 17 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.22 Page 18 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.23 Page 19 of 20
Case 3:22-cv-00553-TWR-NLS Document 1-2 Filed 04/21/22 PageID.24 Page 20 of 20
